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         Exhibit Index to Application to Serve as Local, Co-Lead and Liaison Counsel


1.     Curriculum vitae of Robert W. Boatman

2.     Curriculum vitae of Shannon L. Clark

3.     Curriculum vitae of Paul L. Stoller

4.     Curriculum vitae of Mark S. O'Connor

5      Curriculum vitae of Lincoln Combs
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                       EXHIBIT 1



Curriculum Vitae of Robert W. Boatman
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            GK
Gallagher&Kennedy




With a legal career in personal injury and wrongful death that spans 30 years, Bob is tireless in his dedication and resolve to seek
justice for each and every one of his clients. From the very first meeting with any prospective client, Bob's easygoing manner engenders
trust because he is naturally compassionate, sincere and possesses a unique ability to understand and communicate with clients from
all walks of life. This same direct, common-sense approach has proven to be extremely effective in cases that are ultimately heard by
juries.

Bob is known by his clients and professional colleagues alike to be a man who is deeply connected to his clients and their causes. For
Bob, client relationships don't often end as a case concludes, especially when an outcome presents an opportunity to affect social
change. Most recently, Bob successfully compelled two major automotive manufacturers to admit their vehicles were defective, yielding
a recall to fix the defect in over 500,000 vehicles, which was a significant win for his client and the consumer at large.

Bob has been recognized as a Best Lawyer by the Best Lawyers of America since 2006. He has received the Martindale-Hubbell AV
Preeminent Peer Review Rating, and continues as a Southwest Super Lawyer from 2007 to the present.


REPRESENTATIVE EXPERIENCE
Product Liability Cases

     • Co-lead counsel on $55,000,000+ claim for multiple deaths due to defective bus design. (2009-2011)
     • Designation as co-lead counsel for all Arizona plaintiffs and settlement of claims exceeding $20,000,000 in the Arizona
       Ford/Firestone litigation. (2001-2002)
     • $17,000,000 jury verdict against General Motors for a death caused by a defective transmission. (1999)
     • $9,900,000 for wrongful death due to vehicle defect. (2012)
     • $4,250,000 for paralyses from tread separation and rollover. (2013)
     • $2,700,000 for wrongful death due to tread separation and rollover. (2006)
     • $2, 150,000 settlement for burns due to defective trailer hitch. (2006)
     • $2,050,000 for wrongful death due to tread separation and rollover. (2012)
     • $1,500,000 for wrongful death due to tread separation. (2005)
     • $1,500,000 settlement for woman injured by experimental drug. (2004)



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     • $1,500,000 to the parents of an unborn baby due to food poisoning. (2000)
     • $1,000,000 for wrongful death due to a tire issue. (2007)
     • $700,000 for wrongful death due to tread separation. (2009)
     • $595,000 for injuries due to faulty medical implant. (2011)
     • $499,000 for wrongful death due to fuel tank failure. (2008)
     • $400,000 for wrongful death due to tread separation. (2009)
     • Member of the team that obtained confidential settlements against Ford Motor Company for serious burn injuries that resulted
       from the defective design of fuel systems in police cars. (2004)
     • Confidential settlement for the family of a young man who suffocated in a sleeping bag. (2003)

Contract

     • $14,990,661.24 award for breach of contract. (2011)
     • Return of multi-million dollar medical practice. (2012)

Legal Malpractice

     • $8,000,000 settlement against one of the country's largest law firms for legal malpractice. (1998)

Mental Health Malpractice

     • Confidential settlement for failure to provide care, resulting in death of two boys. (2009)

Premises Liability

     • $250,000 for torn Achilles tendon. (2009)
     • $150,000 for fractured hip. (2012)
     • $120,000 for trip and fall. (2008)

Governmental Misconduct

     • $4,470,000 settlement against city and state for failure to install a traffic signal. (2006)
     • $1,000,000 settlement against U.S. Forest Service for failure to post sign warning of road closure. (2011)
     • Confidential settlement with county for failure to keep horses off road. (2006)
     • Confidential multi-million dollar settlement for the family of a woman killed by a police officer. (2003)

Murder

     • $400,000 settlement for wrongful death of wife by husband. (2005)

Motorcycle Accidents

     • $4,500,000 to a man suffering a head injury. (1997)
     • $1,900,000 to a man who was run over by an 18-wheeler. (2003)
     • $900,000 to a man with a broken leg. (2004)
     • $400,000 to a man who broke his wrist. (2001)
     • $250,000 to an adolescent with a broken leg. (2007)
     • $100,000 for a knee injury. (2006)

Construction Accidents/Defects

     • $1,050,000 for the death of a trucker when a load of pipes fell on him. (2002)
     • $300,000 settlement for the death of a worker when a sign collapsed. (2003)
     • $110,000 settlement for the victim of a crane loading mishap. (2004)

Motor Vehicle Accidents

     • Settlements in excess of $55,000,000 for numerous motor vehicle accidents.
     • $4,800,000 for pedestrian/bus accident. (2010)
     • $1,400,000 for wrongful death. (2012)
     • $990,000 for brain injury. (2012)
     • $500,000 for broken leg. (2011)
     • $250,000 for post-traumatic stress syndrome. (2011)




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Trucking Accidents

     • $2,525,000 for multiple fractures. (2010)

Bad Faith

     • Confidential settlements with major insurers for bad faith handling of insureds' claims.

Nursing Home Abuse

     • $1,200,000 settlement for bedsores, infection and death. (2008)
     • $750,000 settlement for pressure sores. (2005)
     • $535,000 settlement for bed sore infection and death. (2012)
     • $375,000 for bedsore infection and death. (2010)

Dram Shop

     • $730,000 settlement for serving drunk driver. (2011)


EDUCATION
Arizona State University
J.D., magna cum /aude, 1984
Order of the Coif
Editor, Law Review

Stanford University
B.A., 1981



BAR &COURT ADMISSIONS
     • Arizona, 1984
     • California, 1985
     • U.S. District Court, District of Arizona, 1984
     • U.S. District Court, Eastern District of California, 1991
     • U.S. District Court, Central District of California, 1992
     • U.S. District Court, Northern District of California, 1993


ASSOCIATIONS &MEMBERSHIPS
     • State Bar of Arizona , Member
     • State Bar of California , Member
     • Arizona Trial Lawyers Association, Member, 1997-Present
     • Arizona Pop Warner and Scottsdale Christian Youth Football, Coach, 1994-Present
     • McCormick Ranch Little League, Coach, 1994-2009
     • McCormick Ranch Little League, Board of Directors, 2001-2004
     • Chaparral High School Booster Club, Board of Directors, 2002-2004


HONORS &AWARDS
     • AV Preeminent Peer Review Rating, Martindale-Hubbell
     • The Best Lawyers in America®, Personal Injury Litigation - Plaintiffs, 2006-2016
     • Southwest Super Lawyers®, Plaintiffs Personal Injury and Wrongful Death Litigation, 2007-2015
     • Arizona's Finest Lawyers, 2011-2012
     • Marquis Who's Who, "Who's Who in American Law"
     • State Champions, Arizona Pop Warner Youth Football, 2001


PUBLISHED WORKS


3 of 4                                                                                                 Gallagher&Kennedy
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     • Product Liability Under California Law, Cambridge Institute, 1987


LIVE MEDIA
     • Investigation of Arizona State Hospital Continuing, June 18, 2015
     • Arizona State Hospital Allowed to Investigate Itself, June 17, 2015
     • Lawsuit Claims Hospital Chain Kept Patient Within System Without Ability to Provide Adequate Care, April 23, 2015
     • Ford Recalls '01-'04 Escapes After Deadly Arizona Crash, July 27, 2012




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                       EXHIBIT 2



  Curriculum Vitae of Shannon L. Clark
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            GK
Gallagher&Kennedy




Shannon is a shareholder and member of the Gallagher & Kennedy board of directors. For 14 years, Shannon has been a tireless
advocate for victims of negligent and wrongful conduct throughout Arizona and around the United States. His passionate commitment to
the rights of injured or wronged individuals has garnered in excess of $200,000,000 in jury verdicts, arbitration awards, mediation results
and negotiated settlements for personal injury, wrongful death and legal malpractice clients. Beyond helping his clients obtain
compensation for devastating injuries and personal tragedy, Shannon also assists clients with many of the (often non-legal) details of
putting their lives back together and moving forward.

From the beginning of his career at Gallagher & Kennedy in 2000, Shannon has been drawn to legal matters that allowed him to
advocate for individuals who have been harmed in some way through the fault of others. As a member the firm's highly skilled and
successful Plaintiffs Personal Injury and Wrongful Death team, Shannon gained invaluable experience in high-profile cases at the state
and national levels.

Shannon is deeply committed to his clients, and his effort extends beyond the intricacies of any given lawsuit to champion consumer
safety issues for greater social impact. While commanding the fortitude, experience, resources and overall fire in the belly needed to
take on major manufacturers and institutional defendants, Shannon remains unfailingly sensitive to the human element of each case he
handles. He approaches his clients as people first, which makes him broadly effective in understanding his clients' challenges and
advocating their causes.


REPRESENTATIVE EXPERIENCE
     • Practice in all areas of litigation and trial work, including personal injury, commercial litigation and appellate advocacy.
     • Handled virtually all varieties of personal injury cases, including product liability, motor vehicle accidents, dram shop actions,
       premises liability, elder abuse, medical malpractice, commercial trucking, sexual assault, and insurance bad faith.
     • Represented clients throughout Arizona and in Texas, Nevada, California, New Mexico and Washington, D.C.


EDUCATION
Duke University



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J.D., with honors, 1999
Order of the Coif
Note Editor, Duke Law Journal

Cornell University
B.A., with distinction, 1996
Dean's Scholar
Phi Beta Kappa
Phi Kappa Phi



BAR &COURT ADMISSIONS
     • Arizona, 1999
     • U.S. Court of Appeals, Ninth Circuit, 1999
     • U.S. District Court, District of Arizona, 2001


ASSOCIATIONS & MEMBERSHIPS
     • State Bar of Arizona, Member
     • The American Association for Justice, Member
     • Arizona Trial Lawyers Association, Member
     • The National Trial Lawyers Association, Member
     • 100 Club of Arizona, Member, Board of Directors, June 2015-Present


HONORS &AWARDS
     • AV Preeminent Peer Review Rating, Martindale-Hubbell
     • The Best Lawyers in America®, Personal Injury Litigation - Plaintiffs, 2012-2016; Appellate Practice, 2016
     • Southwest Super Lawyers®, Plaintiff's Personal Injury and Wrongful Death Litigation, 2014-2015
     • Southwest Super Lawyers®- Rising Stars Edition, Plaintiff's Personal Injury and Wrongful Death Litigation, 2012-2013
     • The National Trial Lawyers, Top 100 Trial Lawyers, 2012-2013
     • The National Trial Lawyers, Top 40 Under 40, 2012-2013
     • Arizona's Finest Lawyers, Sustaining Member, 2013-Present
     • Phoenix Business Journal, 40 Under 40, 2013
     • Phi Beta Kappa, Cornell University, 1996
     • Phi Kappa Phi, Cornell University, 1996
     • Gold Key National Honor Societies, Cornell University, 1996
     • Cornell National Scholarship, Cornell University, 1996


COMMUNITY &PHILANTHROPY
Arizona Center for the Blind and Visually Impaired Board of Directors, 2005-2011, 2013-present
(Chairman 2010-2011)

Cayley Manor Homeowners Association Board of Directors, 2008-2011
(President 2009-2011)


PUBUSHHl WORKS
     • Demonstrative Evidence, March 1, 2013
     • The Evolution of Products Liability, A Historical Accounting, Arizona Tort Law Handbook (Co-Author), 2012
     • Wrongful Death, Arizona Tort Law Handbook (Co-Author), 2012
     • E-Sign of the Times, Newsletter, February, 2001




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UVEMEIJIA
     • Old Tires Pose Tread Separation Risk, October 22, 2014
     • Ford Recalls '01-'04 Escapes After Deadly Arizona Crash, July 27, 2012


SPEAKING ENGAGEMENTS
     • APA Seminar, Managing Success Through the Art of Preparation and Presentation, 2012
     • NALA Seminar, Demonstrative Evidence - How to Do It Right, 2011
     • State Bar Association, Motor Vehicle Accident Cases: Winning Presentation with the Use of Expert Witnesses and Graphic
       Illustrations, 2011
     • NBI Plaintiff Personal Injury Seminar, Personal Injury Damages, 2006


REPRESENTATIVE CASES
     • Helped secure important Arizona Supreme Court ruling that Arizona hospitals can be subject to liability for abuse and neglect of
       vulnerable adults.
     • Successfully resolved case for victims of failed (and later recalled) telescoping aerial ladder unit on fire engine.
     • Helped secure compensation from and government investigation of a major automobile manufacturer that failed to recall a
       dangerous stuck throttle defect on a popular SUV.
     • Resolved legal and accounting malpractice claims against major accounting firm on behalf of heirs to high profile businessman
       and entrepreneur.
     • Successfully represented dozens of tread separation and/or rollover accident victims in product liability cases against Ford Motor
       Company, Bridgestone/Firestone, Inc., Bridgestone Corporation, Dunlop Tire Company, Cooper Tire and Rubber Company,
       Kuhmo Tire Company, Michelin North America and most major tire manufacturers.
     • Member of team representing victims of fuel-fed fires caused by rear-impact collisions in Ford Crown Victoria Police
       Interceptors; helped cause Ford to spend $350,000,000 to improve safety of police vehicles.
     • After a two-month trial, recovered record settlement for victims of elder abuse at a nursing home.
     • Member of trial team for victims of Mexican Hat, Utah ski bus accident.
     • Represented family of man who died in Sedona Sweat Lodge tragedy.


LANGUAGES
Spanish


OTHER
Judicial Clerkships
Judicial Clerk, Honorable Mary M. Schroeder, Circuit Judge, United States Court of Appeals for the Ninth Circuit, 1999-2000

Academic Appointments
Phoenix School of Law, Phoenix, AZ, Adjunct Professor, 2012-2013
Arizona Summit Law School, Phoenix, AZ, Adjunct Professor, 2013-Present

Study Abroad
Universidad de Sevilla, Seville, Spain, 1994-1995




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                       EXHIBIT 3



     Curriculum Vitae of Paul L. Stoller
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Gal lag her&Kennedy




For nearly two decades, Paul has represented clients in high-stakes and hotly contested commercial litigation in Arizona and across the
country. Paul has represented plaintiffs and defendants in virtually all types of complex commercial litigation matters, including
professional liability, data privacy and security, contract, insurance coverage, securities, officer and director liability, racketeering,
intellectual property, and antitrust cases. Paul has extensive experience in State and Federal class actions in Arizona and District
Courts around the country. Paul has also represented attorneys, law firms, and clients in malpractice cases and with respect to ethical
issues.

Paul is fluent in effective legal technology for the better and more efficient representation of clients. He serves on the Firm's IT and IT
Security Committees and heads up the Firm's data privacy and security team. Paul is a frequent commentator, author, and speaker on
data privacy and security issues.

Paul is currently a member of the Arizona State Bar Civil Practice and Procedure Committee, the State Bar Fee Arbitration Committee,
and the State Bar Class Actions and Derivative Suits Committee. He has also been a Judge Pro Tempore of the Maricopa County
Superior Court since 2006 and has served as a court-appointed settlement judge and neutral for dozens of cases.


REPRESENTATIVE EXPERIENCE
     • Lead counsel for international hotel company in defense of consolidated national class action lawsuits alleging violations of
       antitrust and consumer protection laws.
     • Lead counsel for national automobile insurance company in defense of national class action for alleged breach of contract.
     • Lead counsel for national automobile insurance company in defense of Arizona class action lawsuit alleging breach of contract
       and seeking declaratory judgment.
     • Lead counsel for national automobile insurance company in defense of Montana class action lawsuit for alleged breach of
       contract.
     • Counsel for founder of companies who was alleged to have controlled multiple entities in defense of racketeering, fraud, and
       negligence claims by 27 plaintiffs.


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     • Counsel for large Phoenix law firm in defense of claim of legal malpractice arising out of representation of client in a stock sale
       transaction.
     • Counsel for outside corporate attorney in defense of claims for fraud, racketeering, and negligence arising out of failed merger
       transaction between multi-state utility companies; Southern Union Co. v. Southwest Gas Corp., 165 F.Supp.2d 1010 (D. Ariz.
       2001).
     • Counsel for Phoenix law firm in defense of legal malpractice claims; obtained dismissal of all claims against clients; Bartleson v.
       Sacks Tierney PA, 204 Ariz. 124, 60 P.3d 703 (App. 2002).
     • Counsel for plaintiff against national law firm for legal malpractice arising out of tax-exempt bond refinancing.
     • Counsel for former officers and directors of a national restaurant chain against billion dollar claims for racketeering, breach of
       fiduciary duty, fraud, and negligence.
     • Counsel for trade association in defense of antitrust claims based on standard-setting activities; obtained summary judgment in
       favor of client on all claims; Heary Bros. Lightning Protection Co. v. Lightning Protection Institute, 287 F.Supp.2d 1038 (D. Ariz.
       2003).


EOUCATION
University of Arizona
J.D., summa cum laude, 1995
Order of the Coif

University of Notre Dame
B.A., cum laude, 1992



BAR & COURT ADMISSIONS
     • Arizona, 1995
     • Arizona Supreme Court, 1995
     • U.S. District Court, District of Arizona, 1996
     • U.S. Court of Appeals, Ninth Circuit, 2000
     • U.S. Court of Appeals, Sixth Circuit, 2012
     • U.S. Tax Court, 2015


ASSOCIATIONS & MEMBERSHIPS
     • American Bar Association, Member
     • State Bar of Arizona, Member
     • Maricopa County Bar Association, Member
     • Maricopa County Superior Court, Judge Pro Tern, 2006-Present
     • State Bar of Arizona, Civil Practice and Procedure Committee, Member, 2014-Present
     • State Bar of Arizona, Committee on Class Actions and Derivative Suits, Member, 2013-Present
     • State Bar of Arizona, Fee Arbitration Committee, Member, 2012-Present


HONORS &AWARDS
     • AV® Preeminent™ Peer Review Rating, Martindale-Hubbell
     • Benchmark Litigation, Local Litigation Star -Arizona, General Commercial, Insurance & lntellecutal Property, 2015
     • Arizona's Finest Lawyers, 2014


PUBLISHED WORKS
     • Cybersecurity Preparedness, June 1, 2015
     • Data Security Preparedness: Reducing the Potential for and Costs of a Data Breach, April 1, 2015
     • Practice Protection: Documenting the Client Relationship, March 1, 2014


SPEAKING ENGAGEMENTS
     • "Slimming Down Your Excess Data: Pragmatic Steps to Minimize Risks & Reduce Costs," Association of Corporate Counsel,
       Arizona Chapter, August 2015



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     • "The Data Breach Debacle: Protecting Yourself From and Responding To a Breach," Independent Insurance Agents and
       Brokers of Arizona, August 2015
     • "Helping Clients With Cyber Security," Arizona Paralegal Association, May 2015
     • "Upcoming Changes to Arizona Rules of Civil Procedure and Proposed Changes to Federal Rules of Civil Procedure," Arizona
       Paralegal Association, April 2014
     • "E-Discovery: Effectively Managing Risks, Volume, and Cost," Association of Corporate Counsel, Arizona Chapter, February
       2014




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                       EXHIBIT 4



 Curriculum Vitae of Mark S. O'Connor
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            GK
Gallagher&Kennedy




Mark is a certified specialist who practices personal injury and wrongful death litigation. Prior to joining Gallagher & Kennedy, Mark was
in private practice for 23 years. He has represented both plaintiffs and defendants in hundreds of litigation matters during his career.
Mark continues to represent victims of catastrophic injury and wrongful death, medical malpractice, nursing home negligence and
vulnerable adult abuse, motor vehicle accidents, trucking and transportation accidents, product liability, premises liability, police
misconduct, governmental liability and dram shop liability. He has served as lead counsel in numerous jury trials.

In July 2002, Mark undertook the pro bono representation of victims and families of the September 11, 2001 terrorist attacks to the
Victim's Compensation Fund. He is currently listed in the 2016 edition of "The Best Lawyers in America," and the 2015 edition of
"Southwest Super Lawyers." In September 2014, Mark was elected by his peers as a Fellow of the International Society of Barristers.


EDUCATION
John Marshall Law School
J.D., with distinction, 1986

Northern Arizona University
B.S., 1978



BAR &COURT ADMISSIONS
     • Arizona, 1986
     • U.S. District Court, District of Arizona, 1986




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ASSOCIATIONS & MEMBERSHIPS
     • State Bar of Arizona, Member
     • Maricopa County Bar Association, Member
     • Arizona Association for Justice also known as Arizona Trial Lawyers Association, Board of Directors
     • American Association for Justice, Member


HONORS &AWARDS
     • AV Preeminent Peer Review Rating, Martindale-Hubbell
     • The Best Lawyers in America®, Personal Injury Litigation - Plaintiffs, 2009-2016
     • Arizona Finest Lawyers, 2011; Arizona Finest Lawyers, Sustaining Member, 2014-Present
     • Southwest Super Lawyers®, Plaintiffs Personal Injury & Wrongful Death, 2009-2015
     • The National Trial Lawyers Association, The Top 100 Trial Lawyers in America


PUBUSHHJ WORKS
     • Mark O'Connor & Lincoln Combs, Informed Consent, NALA Facts & Findings, March/April 2015, at 27-29


SPEAKING ENGAGEMENTS
     • The State Bar of Arizona Professionalism Course, Continuing Legal Education (CLE) by the Sea, panelist
     • Arizona's Top Ten-How They Did It, panelist
     • Truck Litigation from Start to Finish in Arizona and Keys to Effective Expert Witness Examination in Arizona, speaker
     • Arizona State Bar's Courtroom Evidence seminar, speaker
     • Healthcare Communication and Medical Malpractice, speaker


OTHER
Certifications
Certified Specialist, Personal Injury/Wrongful Death, Arizona Board of Legal Specialization




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                       EXHIBIT 5



    Curriculum Vitae of Lincoln Combs
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            GK
Gallagher&Kennedy




Lincoln Combs is a litigation shareholder with Gallagher & Kennedy's Personal Injury practice group. Lincoln is one of the top plaintiff's
personal injury attorneys in Arizona and the Southwest, with experience and success in a wide range of litigation and appellate matters.
He specializes in plaintiffs' catastrophic personal injury and wrongful death litigation, including consumer advocacy, elder abuse, motor
vehicle accidents, professional negligence, products liability, and insurance bad faith litigation. Lincoln is committed to serving his clients
with the passion, empathy, and integrity that injured victims of wrongdoing and their loved ones deserve.

Lincoln graduated fourth in his class with from the Sandra Day O'Connor School of Law at Arizona State University, where he was on
Law Journal and an officer of several student organizations. Prior to joining Gallagher & Kennedy, Lincoln was a clerk for Justice
Andrew D. Hurwitz of the Arizona Supreme Court.


EDUCATION
Arizona State University
J.D., magna cum /aude, 2006
Pedrick Scholar
Order of the Coif
Editor, Law Journal

Ohio University
M.S.A., 1997

University of California, San Diego
B.A., 1994


BAR & COURT ADMISSIONS
     • Arizona, 2007


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     • Arizona Supreme Court, 2007
     • U.S. District Court, District of Arizona, 2007
     • U.S. Court of Appeals, Ninth Circuit, 2014


ASSOCIATIONS &MEMBERSHIPS
     • State Bar of Arizona, Civil Practice and Procedure Committee, Member
     • Arizona Association for Justice, Board Member, 2014-Present; Member, 2009-Present
     • American Association for Justice, Member
     • American Bar Association, Member


HONORS &AWARDS
     • Southwest Super Lawyers®- Rising Stars Edition, Plaintiffs Personal Injury & Wrongful Death, 2014-2015
     • The Best Lawyers in America®, Personal Injury Litigation - Plaintiffs, 2016
     • Arizona State Law Journal Best Note Award, 2005


COMMUNITY &PHILANTHROPY
     • Brian Terry Foundation, Board Member
     • Desert Bridge Community Service Organization, Member
     • Case Manager, Arizona Justice Project
     • Advocate, Volunteer Lawyers Program
     • Volunteer, Arizona Appellate Pro Bono Pilot Program
     • Committee Member, State Bar of Arizona Disaster Plan Committee
     • Speaker, Arizona Foundation for Legal Services & Education/Kids Voting Arizona
     • Volunteer, St. Vincent de Paul Legal Clinic
     • Volunteer, Channel 12 Lawyers on Call/www.azlawhelp.org
     • Judge, Sandra Day O'Connor College of Law Oral Argument Competition


PUBLISHED WORKS
     • Mark O'Connor & Lincoln Combs, Informed Consent, NALA Facts & Findings, March/April 2015, at 27-29
     • Arizona Torts Handbook, Chapter 23: Wrongful Death (State Barof Arizona 2012) (editor)
     • Banking Law and Regulation: Predatory Lending in Arizona, 38 Ariz. St. L.J. 617 (Summer 2006)
     • A Curious Choice, Hibbs v. Winn, as a case Study of Justice Sandra Day O'Connor's Balancing Jurisprudence, 37 Ariz. St. L.J.
       183 (Spring 2005)


UVEMEOIA
     • Lincoln Combs Interviewed by Fox and Friends Regarding Fast and Furious Guns, July 10, 2013
     • Lincoln Combs Interviewed by NPR News Regarding Fast and Furious, August 31, 2011


REPRESENTATIVE CASES
     • $2.6 million settlement of professional liability action against Fortune 500 firm.
     • $2.5 million settlement for catastrophic injuries in trucking accident.
     • $1 million settlement for wrongful death against U.S. Forest Service.
     • Confidential settlement of catastrophic injury claim arising out of plane crash.
     • Mid six-figure settlement in medical device products liability action.
     • Mid six-figure settlement for young girl injured by sharp-edged hitching post in stable accident.
     • Confidential settlement in insurance bad faith action against major national liability insurer.
     • Confidential settlement in medical device products liability action.
     • $270,000 settlement for woman seriously injured by overloaded hospital cart.
     • $175,000 jury verdict for woman struck by vehicle running stop light.
     • $45,000 jury verdict for police officer struck from behind by vehicle.


OTHER

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Lincoln has a Master's Degree from Ohio University in Sports Administration. Before law school he worked in the Athletic Department at
Arizona State University and was an American History teacher and the Head Boys' Basketball Coach at Buckeye Union High School in
Buckeye, Arizona.




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